Case: 4:18-cv-01568-RLW Doc. #: 23-3 Filed: 01/09/19 Page: 1 of 5 PageID #: 876




                                                            EXHIBIT C
Case: 4:18-cv-01568-RLW Doc. #: 23-3 Filed: 01/09/19 Page: 2 of 5 PageID #: 877
Case: 4:18-cv-01568-RLW Doc. #: 23-3 Filed: 01/09/19 Page: 3 of 5 PageID #: 878
Case: 4:18-cv-01568-RLW Doc. #: 23-3 Filed: 01/09/19 Page: 4 of 5 PageID #: 879
Case: 4:18-cv-01568-RLW Doc. #: 23-3 Filed: 01/09/19 Page: 5 of 5 PageID #: 880
